Use Tab key1:21-cr-00047-RDM
      Case  to move from field Document
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                                                  form.
                                                      11/16/22 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:21-cr-00047 (RDM)


Hector Emmanuel Vargas Santos
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED             9   FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Nandan Kenkeremath, USDC DC 384732
                                                        (Attorney & Bar ID Number)


                                                               (Firm Name)

                                          2707 Fairview Court
                                                             (Street Address)

                                          Alexandria,                Virginia            22311
                                           (City)               (State)          (Zip)

                                          703-407-9407
                                                            (Telephone Number)
